CRIMINAL MINUTES
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                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
                                                    BRUNSWICK DIVISION

CASE NO.       2:18-cr-47                         DATE        3/5/2019                     TIME       1:00-1:47


USA v.      Makeda Atkinson                                      TAPE NO.      FTR-BWK-CR1         JUDGE      WOOD


BEFORE BENJAMIN W. CHEESBRO, U.S. MAGISTRATE JUDGE                             INTERPRETER:

   X     DEFENDANT PRESENT

   X     COUNSEL FOR DEFENDANT              John Ossick
   X     ASSISTANT U.S. ATTORNEY            Jennifer Kirkland
   X     DEPUTY CLERK                       Kim Mixon
         U.S.P.O

   X     U.S. MARSHAL                         X Jay Ciambrone         X     Marty Fitzgurls                 Jason Parnell
MOTIONS HEARING.


1:00-Court to hear argument on Defendant’s motions first. Notice to Counsel form submitted by Defendant and argument requested
on all but one motion and evidentiary hearing on Notice of Voluntary Statements.
As to status of discovery, Government states it has received new discovery to include new autopsy report, 911 calls and victim’s cell
phone log and will get that uploaded tonight.
Discovery is considered supplemental production.
As to status of motions:
#42-Motion for Production-Jenks Act and Motion for Production. Motion is unopposed.
#43-Request for Brady Material. Motion is unopposed.
#44- Motion to Dismiss. Court will hear argument. Reserves ruling.
#45-Motion for Notice of Intention to Use Evidence. Parties state there is nothing to resolve on this motion.
#46-Motion to Preserve Evidence. Motion is unopposed.
#47-Motion regarding 807 Residual Exception Disclosure. Parties are working through this motion.
#48-Motion for Information regarding Bad Acts of Defendant. Parties are working through this motion. Nothing for Court to resolve at
this time. If further issues arise parties will bring forth before the Court.
#49- Motion to Determine Voluntary Statements. Will hear argument. Court reserves ruling at this time.
#50- Motion for Copy of Defendant’s Statements. Motion is unopposed.
#51- Motion Requesting Additional Peremptory Challenges. Nothing unresolved at this time.
#52- Motion on Co-conspirator Statements. Nothing unresolved at this time.
Defense argument on Motion to Dismiss 1:13-1:26.
Government argument on Motion to Dismiss 1:27-1:29
Defense argument 1:29-1:30.
Court takes matter of Motion to Dismiss under advisement and will issue a written order.
As to #49 Motion on Voluntariness of Statements.
Government witness Stephen Lowrey, Glynn County PD. Witness sworn 1:32. 1:32-1:46.
Government Exhibit “2” (Miranda Rights Waiver Form) admitted without objection.
Government Exhibit “1” (CD recording of interview with Defendant) admitted without objection.
Government states that at approximately 24 minutes into the video the Miranda Rights Waiver form is executed by Defendant.
Defense cross 1:42-1:44. Court to Mr. Lowrey 1:45-1:46.
Government rests 1:47
Defense rests 1:47

As to Government’s motions. One motion for Reciprocal Discovery. Motion is unopposed.
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1:47-Court takes Motion to Dismiss and Motion on Voluntariness of Statements under advisement and will issue written order.
